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                                                                                               Filed in District Court
                                                                                                 State of Minnesota
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STATE OF MINNESOTA                                                         DISTRICT COURT

COUNTY OF SCOTT                                                FOUTH JUDICIAL DISTRICT
                                                                  Case Type: Personal Injury

HEIDI LEUTHNER and                               Court File No.:
KYLE LEUTHNER,
              Plaintiffs,
VS.
                                                 SUMMONS
SAM'S CLUB A DIVISION OF WALMART
    OICES-111r
         I C. SAM'S REAL ESTATE
ffiiS1NES TRU-ST and WALMART STORES,
INC.
               Defendants.

THIS SUMMONS IS DIRECTED TO: DEFENDANTS ABOVE-NAMED AND THEIR
ATTORNEY(S)

        1. YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The
Plaintiffs Complaint against you is attached to this summons. Do not throw these papers away.
They are official papers that affect your rights. You must respond to this lawsuit even though it
may not yet be filed with the Court and there may be no court file number on this summons.
       2. YOU MUST REPLY WITHIN 20 DAYS TO PROTECT YOUR RIGHTS. You
must give or mail to the person who signed this summons a written response called an Answer
within 20 days of the date on which you received this Summons. You must send a copy of your
Answer to the person who signed this summons located at:


                                   McCARTY LAW LLP
                                  Kayla J. Giese, Esquire
                               Minnesota State Bar No. 0396480
                                  kgiesemccarty-law.com
                                 2401 E. Enterprise Avenue
                                  Appleton WI 54913-4887

                                       Service Emails:
                                   kgiese@mccarty-law.com
                                   dzunker@mccarty-law.com

        3. YOU MUST RESPOND TO EACH CLAIM. The Answer is your written response
to the Plaintiffs Complaint. In your Answer you must state whether you agree or disagree with
each paragraph of the Complaint. If you believe the Plaintiff should not be given everything
asked for in the Complaint, you must say so in your Answer.
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        4. YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN
RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS
SUMMONS. If you do not Answer within 20** days, you will lose this case. You will not get
to tell your side of the story, and the Court may decide against you and award the Plaintiff
everything asked for in the complaint. If you do not want to contest the claims stated in the
complaint, you do not need to respond. A default judgment can then be entered against you for
the relief requested in the complaint.
        5. LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you do not
have a lawyer, the Court Administrator may have information about places where you can get
legal assistance. Even if you cannot get legal help, you must still provide a written Answer to
protect your rights or you may lose the case.
       6. ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be
ordered to participate in an alternative dispute resolution process under Rule 114 of the
Minnesota General Rules of Practice. You must still send your written response to the
Complaint even if you expect to use alternative means of resolving this dispute.




Electronically signed by Kayla J. Giese    06/13/2022
Kayla J. Giese                             Dated
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STATE OF MINNESOTA                                                              DISTRICT COURT

COUNTY OF SCOTT                                                       FOUTH JUDICIAL DISTRICT
                                                                         Case Type: Personal Injury

HEIDI LEUTHNER and                                       Court File No.:
KYLE LEUTHNER,
                Plaintiffs,
VS.                                                      COMPLAINT
SAM'S CLUB A DIVISION OF WALMART
STORES,INC. , SAM'S REAL ESTATE
BUSINESS TRUST and WALMART STORES,
INC.
                Defendants.



TO:     DEFENDANTS ABOVE-NAMED AND THEIR ATTORNEY(S):


        COMES NOW, Plaintiffs, Heidi Leuthner and Kyle Leuthner, by and through their attorneys,

McCarty Law LLP, for their complaint against Defendants Sam's Club, a division of Walmart Stores,

Inc., Sam's Real Estate Business Trust and Walmart Stores, Inc. (Collectively referred to as

"Defendants"), and states and alleges as follows:


                                                    I.

        At all times material, Plaintiff, Heidi Leuthner (hereinafter "Plaintiff'), was an adult

female resident of the State of Minnesota.



        At all times material, Plaintiff, Kyle Leuthner,(hereinafter "Plaintiffs Spouse") was an

adult male resident of the status Minnesota; that Plaintiffs Spouse has an interest in Plaintiffs

damages.



        At all times material, Defendants were doing substantial business in the State of
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Minnesota.

                                                IV.

       On or about July 29, 2016, Plaintiff was involved in an accident at Defendant's property

at 8201 Old Carriage Ct., Shakopee, Minnesota 55379(Hereinafter "the Property").

                                                V.

       At all times material, Plaintiff was pushing a grocery cart and returning it to a cart corral

within the parking lot on the Property owned by Defendants.

                                                VI.

       At all times material, Defendants owned and operated a retail store on the Property doing

business as Sam's Club.)

                                                VII.

       At all times material, Defendants were responsible to take reasonable care to discover the

actual condition of the property and either make the premises safe or warn Plaintiff of the

dangers.

                                               VIII.

       Defendants were negligent in the maintenance of the Property and failed to reasonably

maintain the parking lot, proximately causing injury to Plaintiff.

                                                IX.

       At all times material, Defendant failed to maintain its property and allowed large

depressions in the parking lot.

                                                X.

       Plaintiff unknowingly stepped into a depression, tripped and fell.
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                                                XI.

       As a direct and proximate result of the negligent conduct or omissions of Defendants, the

Plaintiff sustained injuries including but not limited to her knee and has sustained past and will in

the future incur medical expenses for the treatment of her injuries; has in the past and will in the

future incur a loss of earnings and earning capacity; and in the past and will in the future

experience physical and mental pain; and has been hereby damaged and injured in an amount

greater than $50,000.00.

                                                XII.

       WHEREFORE, Plaintiffs demand a trial by jury and judgment against Defendants, as

follows:

   a. Plaintiffs demand a judgment against the Defendants in an amount greater than Fifty
      Thousand ($50,000.00) Dollars;

    b. For all applicable interest, costs, disbursements and attorney's fees incurred herein; and

   c. For such further relief as the Court deems just and equitable.




                                                   McCARTY LAW,LLP
                                                   ATTORNEYS FOR PLAINTIFFS

 Dated: June 13, 2022                              Electronically signed by Kayla J. Giese
                                                   Kayla J. Giese
                                                   Minnesota State Bar No. 0396480
                                                   2401 East Enterprise Avenue
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                                                   p.(920) 882-4070
                                                   f.(920)882-7986
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                                        ACKNOWLEDGEMENT

        The undersigned attorney acknowledges, pursuant to Minn. Stat. §549.211 (2), that the attorney

and the attorney's client are aware that upon motion of a party, or upon the court's own motion, the court

in its discretion may award to that party costs, disbursements, reasonable attorney's fees and witness fees

if the party or attorney against whom costs, disbursements, reasonable attorney and witness fees are

charged acted in bad faith, asserted a claim or defense that is frivolous and that is costly to the other party,

asserted on unfounded position solely to delay the ordinary course of the proceedings or to harass, or

committed a fraud upon the court.




Dated: June 13, 2022                                        Electronically signed by Kayla J. Giese
